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 6   Attorneys for Plaintiff
 7   LIN ZHU

 8                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9                                      SAN FRANCISCO DIVISION
10
      LIN ZHU,                                             Case No. 3:17-CV-07121-MEJ
11
                                    Plaintiff,             STIPULATION OF DISMISSAL
12           v.                                            AND [PROPOSED] ORDER
13                                                         Fed. R. Civ. P. 41(a)(1)
      SUTTELL & HAMMER, APC, F/K/A
14    SUTTELL, HAMMER & WHITE, APC, a
      California corporation, and ERIN E.
15    PATTERSON, individually and in her official
      capacity;
16
17                                  Defendants.

18          Pursuant to Fed. R. Civ. P. 41(a)(1), Plaintiff, LIN ZHU, and Defendants, SUTTELL &
19
     HAMMER, APC, and ERIN E. PATTERSON, stipulate, and the Court hereby orders, as follows:
20
                     1.   The dispute between the parties has been settled, therefore, the claims asserted by
21
     Plaintiff, LIN ZHU, against Defendants, SUTTELL & HAMMER, APC, and ERIN E. PATTERSON,
22
23   in the above-captioned proceeding are hereby dismissed, with prejudice, pursuant to Fed. R. Civ. P.

24   41(a)(1).
25   ///
26
     ///
27
     ///
28

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     STIPULATION OF DISMISSAL AND ORDER                                       Case No. 3:17-CV-07121-MEJ
              Case 3:17-cv-07121-MEJ Document 23 Filed 08/28/18 Page 2 of 2




 1                                             CONSUMER LAW CENTER, INC.

 2
     Dated: August 28, 2018                    By: /s/ Fred W. Schwinn
 3                                             ✘ Fred W. Schwinn (SBN 225575)

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                                               Attorneys for Plaintiff
10                                             LIN ZHU

11
12
                                               DAVIS WRIGHT TREMAINE, LLP
13
14   Dated: August 28, 2018                    By: /s/ Mary H. Haas
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19
                                               Attorney for Defendants
20                                             SUTTELL & HAMMER, APC,
                                               and ERIN E. PATTERSON
21
22   THE FOREGOING STIPULATION
     IS APPROVED AND IS SO ORDERED.
23
24   Dated:
25                                             The Honorable Maria-Elena James
                                               United States Magistrate Judge
26
27
28

                                             -2-
     STIPULATION OF DISMISSAL AND ORDER                            Case No. 3:17-CV-07121-MEJ
